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COXSACKIE CORRECTIONAL FACILITY

INMATE GRIEVANCE PROGRAM

The following 4 grievance(s) were filed by inmate: HAYES, T. DIN. #05A3850

NUMBER DESCRIPTION
CX-18859-016 DREADLOCKS

5UPERINTENDENT CORC

CODE FILED HEARING: SENT: RETURN SENT: RETURN

47 22016 3391/2016

 

CX-18908-016 PREA
CX-18961-016 MAIL PROCEDURE

50 «= 4/19/2016 4/19/2016RESOLVED AND CLOSED
24 6/2/2016

 

CX-18983-016 RETALIATION ALLEGATION

49 8/17/2016 PT/H = 17/2016

 

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FORM 21718 (112) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
Side 2 = ,
Cotevck.e Correctional Facility (
INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO

1. MAME OF INMATE (Last, First) + NOMBRE DEL RECLUSO (Apedido, Nombre) NO. + NUM. HOUSING LOCATION + GELDA

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@ LOCATION OF INCIDENT + LUGAR DEL INCIDENTE INCIDENT DATE + FECHA INCIDENT TIME + HORA,

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3. RULE VIOLATIONS) # VICLACIONES

 

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REPORT DATE # FECHA REPORTED 8 + NOMBRE CE LA PERSONA QUE HACE EL INFORME SPGNATURE * FIRMA” —_ TITLE + TITULO
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5. ENDORSEMENTS OF OTHER EMPLOYEE WITNESSES (if any} SIGNATURES:
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FECHA HORA DADO AL RECLUSO

 

WOMBRE ¥ TITULG Ga cn ENTREGA E ate

You are hereby advised that no statement made by you in response to the charges or information derived therefrom may be used against you in a criminal
proceeding. # Por este medio se le informa que no se puede usar ninguna declaracion hacha por usted como respuesta al cargo o la informacion derivada de ella
@n una demanda criminal.

Vv
NOTICE ¢ AVISO
REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY)

You are hereby notified that the above raport is a formal charge and will be considered and determined at a hearing to be held. + Por esta medio se le nonfica que
el informe anterior es un carge formal el cual se considerara y determinara an una audiencia a celebrarse.

The inmate shail ba permitted to call witnesses provided that so doing does not jeopardize institutional safety or correctional goals. « Sela parmitira al rectuso llamar
testigos con tal de que al hacerlo no pondra én peligro la seguridad de la Institcion o los objectives del Departamento,

If restricted pending a hearing for this misbehavior report, you may write ta the Deputy Superintendent for Security or his/her designee prior to the hearing to make
a statement on tha need for continued prehearing confinament. # Si esta restringido pendiente a una audlencia por este informe de mal compartamiento, puede
escrbirle al Diputado del Superintendente para Seguridad o su representante antes de la audiencia para que haga una declaracion acerca de la necesidad de
contnuar bajo confinamiento, previo ala audiencia.

Distriputian; WHITE - Disciplinary Office CANARY - Inmate (After review) + Distribucién; BLANCA - Oficina Discipliaria AMARILLA- Recluso (después de la resion)
Case 9:16-cv-01368-TJM-CFH Document1-1 Filed 11/17/16 Page 5 of 14

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STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE GRIEVANCE COMPLAINT

 

COXSACKIE CORRECTIONAL FACILITY Tawa is,
Receipt of Grievance CX-19053-16

 

 

 

Short Title IGRC COMPLAINT: ALLEGES VERBAL STATEMENTS

 

Date Filed: Monday, July 25, 2016

 

Name: HAYES , T Dept.No.: 05-A-3850 Housing Unit: B-02-06

This notice is to infom you that your grievance has been filed with the Coxsackie Correctional
Facility Grievance office. It has been assigned the title and code number listed above. This issue
will be investigated, and if we are unable to come to an informal resolution you will be called
down for an IGRC hearing.

if this is a code 49 Grievance, it will be sent directly to the Superintendent's office for investigation.
You will be notified directly through a Superintendent Response

From the desk of
T. Surprenant, Inmate Grievance Program Supervisor
Case 9:16-cv-01368-TJM-CFH Document1-1 Filed 11/17/16 Page 7 of 14

 

 

 

 

 

 

 

 

 

 

 

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STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION ()

INMATE GRIEVANCE COMPLAINT
COXSACKIE CORRECTIONAL FACILITY | Glevanon Wa.
Receipt of Grievance CX-19054-16

Short Title LOSS OF PROGRAM

 

 

Date Filed: Monday, July 25, 2016

 

Name: HAYES , T Dept. No.: 05-A-3850 Housing Unit: 5-02-06

 

This notice is to infom you that your grievance has been filed with the Coxsackie Correctional
Facility Grievance office. It has been assigned the title and code number listed above. This issue
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From the desk of
T. Surprenant, Inmate Grievance Program Supervisor
 

 

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STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPE

INMATE GRIEVANCE COMPLAINT
COXSACKIE CORRECTIONAL FACILITY Giievencs Na:

Receipt of Grievance | CX-19094-16

 

 

Short Title STAFF CONDUCT

 

Date Filed: Tuesday, August 09, 2016

 

Name: HAYES , T Dept.No.; 05-A-3850 Housing Unit: SHU-3-0

 

This notice is to infom you that your grievance has been filed with the Coxsackie Correctional
Facility Grievance office. It has been assigned the title and code number listed above. This issue
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From the desk of
T. Surprenant, Inmate Grievance Program Supervisor
